                   IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           STATESVILLE DIVISION
                      CRIMINAL DOCKET NO.: 5:02CR37-V

UNITED STATES OF AMERICA,       )
                                )
           vs.                  )
                                )                     ORDER
ERIC WIMBUSH,                   )
           Defendant.           )
________________________________)

      THIS MATTER is before the Court on Defendant’s “Motion For Release Of Sealed
Material (PreSentence Reports),” filed September 19, 2005.
      Defendant, through counsel, seeks authorization for release of certain non-public
materials in order to prosecute Defendant’s appeal of his conviction and sentence in the
Fourth Circuit Court of Appeals. Upon a showing of good cause, the motion will be
granted.
      IT IS, THEREFORE, ORDERED THAT:
      1) Defendant’s Motion For Release Of Sealed Material is hereby GRANTED.
      Accordingly, U.S. Probation is authorized to release a copy of the Defendant
      Wimbush’s Pre-Sentence Report to Appellate Attorney Walter H. Paramore, III;
      2) The Deputy Clerk is directed to forward a copy of this Order to the Defendant’s
      Appellate Counsel, U.S. Attorney, and U.S. Probation Department.




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                   Signed: September 22, 2005




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